                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON



LORI WAKEFIELD, individually and on                   Case No. 3:15-cv-1857-SI
behalf of a class of others similarly situated,
                                                      JUDGMENT
               Plaintiffs,

       v.

VISALUS, INC.,

               Defendant.

Michael H. Simon, District Judge.

       Based on the Special Verdict of the jury (ECF 282), the Court hereby enters Judgment in

favor of the Certified Class, defined as follows:

               All individuals in the United States who received a telephone call
               made by or on behalf of ViSalus: (1) promoting ViSalus’s products
               or services; (2) where such call featured an artificial or prerecorded
               voice; and (3) where neither ViSalus nor its agents had any current
               record of prior express written consent to place such call at the
               time such call was made.

ECF 81; ECF 69 at 2. The following people are excluded from the Certified Class: (1) any

United States Judge or Magistrate Judge presiding over this action and members of their

families; (2) Defendant, Defendant’s subsidiaries, parents, successors, predecessors, and any

entity in which the Defendant or its parents have a controlling interest and its current or former

employees, officers, and directors; (3) persons whose claims in this matter have been finally

adjudicated on the merits or otherwise released; (4) persons who properly executed and filed a


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timely request for exclusion from the Certified Class; (5) Plaintiff’s counsel and Defendant’s

counsel; and (6) the legal representatives, successors, and assigns of any such excluded persons.

       The dissemination of Class Notice (ECF 106): (a) constituted the best practicable notice

to Class Members; (b) constituted notice that was reasonably calculated to apprise Class

Members of the pendency of the Action, their right to exclude themselves, and the binding effect

of the Judgment; and (c) met all applicable requirements of law, including the Federal Rules of

Civil Procedure, the United States Constitution, and the Rules of this Court.

       Consistent with Special Verdict of the Jury (ECF 282), (a) the Certified Class shall

recover from Defendant ViSalus, Inc. (“ViSalus”) $500 per call made in violation of the

Telephone Consumer Protection Act, 47 U.S.C. § 227, for an aggregate amount not to exceed

$925,218,000; and (b) Plaintiff Lori Wakefield, for her individual claim, shall recover from

ViSalus the amount of $2,000. Pursuant to 28 U.S.C. § 1961(a), Plaintiff and the Certified Class

shall recover from ViSalus post-judgment simple interest payable at the statutory rate of 0.13

percent per year commencing as of the date of this Judgment. Any motion for attorneys’ fees,

expenses, costs, or incentive awards shall be filed not later than 14 days after entry of this

Judgment. Notice of the motion shall be directed to Class Members pursuant to Fed. R. Civ.

P. 23(h)(1), and any Class Member may object to the motion pursuant to Fed. R. Civ.

P. 23(h)(2). Plaintiff shall file a motion for a proposed notice plan in accordance with Fed. R.

Civ. P. 23(h)(2) within 28 days of the entry of this Judgment.

       IT IS SO ORDERED.

       DATED this 27th day of August, 2020.

                                                       /s/ Michael H. Simon
                                                       Michael H. Simon
                                                       United States District Judge




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